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UNITED STATES DISTRICT COURT ‘

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SOUTHERN DISTRICT OF CALIFORNIA

08 WJ 1856

UNITED STATES OF AMERICA Criminal Case

Plaintiff,

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) Title 21, U.S.C., Secs. 843 (al (7)
) and 846 - Conspiracy ta Possess
) Cocaine with Intent to Distribute
) and to Distribute Cocaine.

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MICHAEL KRAPCHAN (1),
HASSAN SHIRANT (2),
RYAN WEDDING (3),

Defendant.

The undersigned complaint, based upon the attached affidavit, and
being duly sworn:
Count 1

Beginning on a date unknown and continuing up to and including

elsewhere, defendants MICHAEL KRAPCHAN, HASSAN SHIRANAT, RYAN WEDDING

June 13, 2008, within the Southern District of California, and

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did knowingly and intentionally conspire and agree with each other and
with others known and unknown, to possess with the intent to
distribute and to distribute 5 kilograms and more of cocaine, to wit:
approximately 24 kilograms of cocaine, a Schedule TI Cont rolied
Substance in violation of Title 21, United States Code, Sections

841 (a) (1) and 846.

Bfétt Kalina
Special Agent
Federal Bureau of Investigation

Sworn before me and subscribed in my presence, June 1b, 209, 20

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AFFIDAVIT
|, Brett Kalina, being duly sworn, hereby declare and state as follows:

1. | have been employed as an FBI Special Agent since June 2004. | am
currently assigned to the San Diego Field Division, Organized Crime Squad, and have
been since July 2006. Prior to my assignment to the Organized Crime Squad | was
assigned to the Major Mexican Drug Task Force Squad for two years. During the
investigation of organized Crime | have participated in the investigation of numerous drug
related offenses. Additionally received sixteen (16) weeks of formalized training at the FBI
Academy in Quantico, Virginia, where I became famifiar inter alia with how controlled substances
are consumed, manufactured, packaged, marketed and distributed. Asa Special Agent of the FBI, I
have participated in several narcotic investigations of alleged criminal violations of the Controlled
Substances Act. I have participated in narcotic investigations and have conducted numerous
surveillance operations in connection with narcotic investigations. I am familiar with the operations
of illegal drug trafficking organizations in the United States and Mexico, including those
organizations whose operations involve the distribution of wholesale quantities of marijuana, cocaine
and methamphetamine.

2. | make this affidavit in support of a criminal complaint and arrest warrant
against:
a. Michael Krapchan,
b. Hassan Shirani,

C. Ryan Wedding,

for violation of Title 21, United States Code, Sections 846, conspiracy to possess with the
intent to distribute cocaine.

3. The information set forth below is based on my personal knowledge and/or
information communicated to me from other law enforcement officers involved in the investigation
of the aforementioned individuals.

4, Because this affidavit is being submitted for the limited Purpose of seeking a
criminal complaint for the above listed individuals, | have not set forth each and every fact
learned during the course of this investigation. Rather, | have set forth only those facts that
| believe are necessary to establish probable cause for the issuance of the requested
criminal complaint.

5. The FBI has been investigating the money laundering and drug distribution
activities of Elmar Akhundov, the leader of the Akhundov drug trafficking organization
(‘Akhundov DTO’) the Akhundov DTO is based in Vancouver, Canada. As described in
greater detail below, Michael Krapchan (“KRAPCHAN”) Hassan Shirani (“SHIRANI”) and
Ryan Wedding (“WEDDING”) are Akhundov DTO associates.

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6. During the months prior to June 13, 2008, an FBI confidential source (“CS-1") met
with Akhundov and KRAPCHAN regarding the purchase of cocaine. These negotiations were
recorded and occurred over the telephone and in person, in locations that included, but were not
limited to, Seattle, Washington and San Diego, California.

7. Pursuant to these negotiations, over recorded telephone conversations, Akhundov and
KRAPCHAN agreed to travel to San Diego, California on or about June 9, 2008 to purchase 24
kilograms of cocaine from CS-1. However, on June 10, 2008, agents learned that Akhundov would
not be present to complete the previously negotiated transaction. Rather, the DTO unilaterally
altered the previously negotiated plan and CS-1 subsequently met only with KRAPCHAN and DTO
associates SHIRANI and WEDDING.

8. Like KRAPCHAN, SHIRANI and WEDDING traveled to California from Canada.
On June 10, 2008, KRAPCHAN introduced SHIRANI and WEDDING as the sources of supply of
the money which the DTO intended to use to purchase the previously negotiated amount of cocaine.
During recorded conversations between KRAPCHAN, SHIRANI, WEDDING and CS-1, SHIRANI
and WEDDING both explained to CS-1 that the buy-money was not instantly available upon their
arrival at the Los Angeles International Airport.

a. Specifically, WEDDING told CS-1 that they [WEDDING and SHIRANIT]
understood that the “deal” [drug transaction] would not occur in Los Angeles, but that is where the
“paper [buy money] was located. WEDDING explained that if they had known that the “deal”
would ocurr immediately upon arrival they would have arrived a few days earlier. WEDDING stated
that the money was in Los Angeles waiting for “us” [WEDDING and SHIRANI], but that they just
had to pick it up. WEDDING then stated, “Obviously, I didn’t put “it” [the buy money] in my —
[ui]suitcase.”

b, WEDDING also stated that their [WVEDDING’s and SHIRANI’s] intention
was to “grab one” [kilogram of cocaine] and “have a look at it... and grab the rest of them later.”
SHIRANI subsequently stated that “[W]e [WEDDING and SHIRANI] cannot carry money over the
border” and stated that they had to get the money to Los Angels before they arrived in Los Angeles.

9. On June 11, 2008, during a recorded telephone conversation between SHIRANI and
CS-1, SHIRANI described how he intended the pending drug transaction to occur. SHIRANI stated
that he would give CS-1 money for “two” [kilograms of cocaine]. SHIRANI explained that once the
transfer for “two” was completed then they would do another “two.” SHIRANI then stated that the
first transfer would be for one “car” [kilogram of cocaine] so that he [SHIRANI] can inspect the
cocaine and see if it meets his expectations. Ultimately, the parties agreed to conduct the exchange
on June 13, 2008.

10. On June 13, 2008, FBI agents observed KRAPCHAN , SHIRANI, and WEDDING
arrive together at a San Diego Hampton Inn Hotel while driving in a 2008 Toyota Prius (Cal Lic. #
6DCW983). KRAPCHAN, SHIRANI and WEDDING entered the hotel together. A short time
later, using the aforementioned Toyota, Prius, KRAPCHAN left the San Diego Hampton Inn Hotel
and traveled alone to a predetermined location where the previously negotiated drug transaction was

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to occur. Upon arrival, CS-Imet with KRAPCHAN, whereupon KRAPCHAN exchanged
seventeen-thousand dollars for one kilogram of cocaine. KRAPCHAN opened the package given to
him by CS-1 in what appeared to be an effort to identify what was contained therein. After the
exchange took place, CS-1 asked KRAPCHAN to call and inform SHIRANI and WEDDING that the
exchange did, in fact, take place as previously negotiated. Using his cellular telephone,
KRAPCHAN placed a call to unidentified individuals [believed to be SHIRANI and WEDDING]
and stated that he had in fact received the “cocaine” from CS-1. After making this telephone call,
KRAPCHAN was placed under arrest.

11. | After KRAPCHAN was arrested, SHIRANI and WEDDING were placed under arrest
as they were leaving the San Diego Hampton Inn Hotel. During a subsequent search of the
aforementioned Toyota, Prius agents located inter alia:

1) a credit card type hotel key for Comfort Inn with the number “304" written upon it;

2) a vehicle rental agreement in the name of “Ryan Wedding” with SHIRANI’s
signature listing SHIRANI as an additional driver; and

3) a real estate magazine for the San Fernando Valley area.

The management at the Comfort Inn located at 20157 Ventura Boulevard, Woodland
Hills, CA 91364, confirmed that room #304 was registered to WEDDING.

12. Pursuant to a search warrant issued in the Central District of California, agents from
the FBI searched Room #304. Hidden within a piece of the hotel room’s furniture, agents located
approximately $100,000.00 of United States currency.

13. _ Based on the information set forth above, I believe that there is probable cause to
believe that KRAPCHAN, SHIRANI and WEDDING conspired to possess, with the intent
distribute, 24 kilograms of cocaine, a Schedule II controlled substance, in violation of Title
21, United States Code, Sections 846 and 841(a)(1).

Brett Kalina
Special Agent

Federal Bureau of Investigation

Sworn before me and subscribed in my presence, June Lb , 2008

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United States Magistrate Judge

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Special Agent
Federal Bureau of Investigation

Sworn before me and subscribed in my presence, June_ 1S , 2008 (2 4:40 pm

United States Magistrate Judge

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COVER SHEET
Weekend Probable Cause Determination

TO: DUTY MAGISTRATE JUDGE

Fax Number:

Total Number of Pages, Including Cover Sheet: é

Attachments: (1) Unsigned proposed complaint (charging document)
(2) Probable Cause Statement Signed by the agent

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From: Special Agent/Inspector__4K€7rT KkAtrWvA
Agency: Fer

Pager: Phone Number:

Date/Time of Fax to Magistrate Judge: _. / °45 PM

Returned Fax Number sn :
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Defendant(s) Name(s): _ ALEZCH AEc KCAPCHAN . FIASGSAN SHELAUE | |
RYAN WEDDIVG |

Date/Time of Apprehension: _QUNE (3, 2008 ot +30 pu.

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